Case 3:15-cv-02197-M-BH Document 64 Filed 10/18/19              Page 1 of 2 PageID 13125


                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

GARY GREEN,

Petitio ner ,                                                   No. 3-15-CV-02197-M-BH

v.

LORIE DAVIS,                                                     Death Penalty Case

Direc to r, Texas Department o f Criminal
Justic e, Institutions Divisio n ,

Respo ndent

                                NOTICE OF APPEAL

      Petitioner Gary Green files this Notice of Appeal to the United States Court of

Appeals for the Fifth Circuit from the FINAL JUDGMENT (ECF-61) signed on

September 27, 2019; the MEMORANDUM OPINION AND ORDER (ECF-60) signed

on September 27, 2019.

      In addition, as part of this appeal since the orders below were not appealable

on an interlocutory basis, Petitioner also appeals to the United States Court of

Appeals   for   the   Fifth    Circuit   the       ORDER    DENYING     MOTION     FOR

RECONSIDERATION (ECF-59), the ORDER OVERRULING OBJECTIONS AND

ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS OF THE

UNITED      STATES       MAGISTRATE            JUDGE       (ECF-56),   the   FINDINGS,

CONCLUSIONS,          AND     RECOMMENDATION               TO   DENY   POST-PETITION

FUNDING (ECF-52), the ORDER OVERRULING OBJECTIONS AND ACCEPTING

FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF THE UNITED


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Case 3:15-cv-02197-M-BH Document 64 Filed 10/18/19      Page 2 of 2 PageID 13126


STATES MAGISTRATE JUDGE (ECF-22), and the FINDINGS, CONLCUSION

AND RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

(ECF-14).

                                     Respectfully submitted,

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                                     /s/ Michael Mowla
                                     Michael Mowla


                             Certificate of Service

      I certify that on October 19, 2019, this document was filed through the ECF-
system and served on the Texas Attorney General.

                                     /s/ Michael Mowla
                                     Michael Mowla




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